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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                      §
  Peninsula Petroleum Far East Pte. Ltd.              §
                                                      §
          Plaintiff,                                  §     CIVIL ACTION _________________
                                                      §
  v.                                                  §     IN ADMIRALTY, Rule 9(h)
                                                      §
  Crystal Cruises, LLC                                §
  Star Cruises (HK) Limited                           §
                                                      §
          Defendants, and                             §
                                                      §
  MUFG Bank, Ltd.                                     §
                                                      §
  Garnishee.                                          §

                      ORDER DIRECTING CLERK TO ISSUE
             PROCESS OF MARITIME ATTACHMENT AND GARNISHMENT

         Upon reading and filing the Verified Complaint of Plaintiff, verified on November 29,

 2021 by J. Stephen Simms that to the best of his information and belief, cannot be found within

 this District, and the Court having found that the conditions required by Rule B(1) of the

 Supplemental Rules for Certain Admiralty and Maritime Claims of the Federal Rules of Civil

 Procedure exist,

         NOW, upon Plaintiff’s motion, it is hereby,

         ORDERED, that the Clerk of this Court is authorized to issue the requested Process of

 Maritime Attachment and Garnishment against all assets, cash, funds, credits, wire transfers,

 accounts, letters of credit, electronic fund transfers, freights, sub-freights, charter hire, sub-

 charter hire, or any other tangible and/or intangible assets belonging to, due, claimed by, being

 held for or on behalf of, or being transferred for the benefit of Defendants, including, but not

 limited to any such assets as may be in the possession, custody or control of, or being transferred
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 through any garnishee within this District, including, without limitation, assets held by or at

 garnishee(s) identified in the Verified Complaint, and said Order being equally applicable with

 respect to the issuance and service of additional Writs of Maritime Attachment and Garnishment

 upon any garnishees in this district not named herein, pursuant to Rule B of the Supplemental

 Rules for Certain Admiralty and Maritime Claims of the Federal Rules of Civil Procedure; and it

 is further

         ORDERED, that any person claiming an interest in the property attached or garnished

 pursuant to said Order shall, upon application to the Court, be entitled to a prompt hearing at

 which the Plaintiff shall be required to show why the garnishment should not be vacated or other

 relief granted: and it is further

         ORDERED, that supplemental process enforcing the Court's Order may be issued by the

 Clerk upon application without further Order of the Court; and it is further

         ORDERED, that following initial service by the United States Marshal or other

 designated process server upon each garnishee, supplemental service of the Process of Maritime

 Garnishment, as well as this Order, may be made by way of facsimile transmission or email to

 each garnishee and, it is further,

         ORDERED, that service on any garnishee as described above is deemed continuous

 throughout the day from the time of such service through the opening of the garnishee's business

 the next business day; and, it is further,

         ORDERED, that pursuant to Federal Rule of Civil Procedure 5(b)(2)(D) each garnishee

 may consent, in writing, to accept service by any other means;

         ORDERED, that a copy of this Order be attached to and served with the said Process of

 Maritime Attachment and Garnishment; and, it is further,




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        ORDERED, that to afford an opportunity for an expeditious hearing of any objections

 which might be raised by Defendants, or any Garnishee, a hearing may be set by calling the case

 manager of the undersigned.

        Signed at Houston this ___ day of __________ 2022.

                               SO ORDERED:


                               _______________________________________
                               HON. KEITH P. ELLISON
                               UNITED STATES DISTRICT JUDGE




                                                3
